     EXHIBIT A




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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

DARRELL C. YOUNG,                                      )
                                                       )
                                                                     CIVIL ACTION NO.
                     Plaintiff,                        )
                                                                        3:19-cv-00363
                                                       )
v.                                                     )
                                                           District Judge William L. Campbell, Jr
                                                       )
EXETER FINANCE CORP.,                                  )
                                                            Magistrate Judge Barbara D. Holmes
                                                       )
                     Defendant.                        )

                              DECLARATION OF MARK NERIOS

          Mark Nerios, pursuant to 28 U.S.C. § 1746, declares and states as follows:

          1.     I am over twenty-one (21) years of age and I am competent to testify regarding

the matters in this declaration.

          2.     I am employed by Exeter Finance LLC ("Exeter") as a Senior Vice President of

Loan Servicing and I am authorized by it to make this declaration. I make this declaration based

on my personal knowledge that I have obtained through my employment with Exeter and upon

my review of the attached business records maintained by Exeter in the ordinary course of

business. As part of my job duties, I have access to and regularly review records maintained by

Exeter as part of its normal course of business, including the documents attached hereto, and I

am familiar with the record-keeping practices of Exeter.

          3.     Exeter is a Delaware limited liability company, with its principal place of

business in Irving, Texas.

          4.     Exeter is a specialty automotive finance company that provides indirect financing

through the purchase of retail installment contracts from automotive dealers. As such, Exeter’s

operations necessarily involve interstate commerce. For example, when Exeter purchases a retail




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installment contract in Tennessee, including the Contracts at issue, the proceeds are funded with

capital sources from outside the State of Tennessee.

          5.    Furthermore, Darrell Young’s ("Young") retail installment contract payments

were to be made to a payment center in the State of Texas.

          6.    I have reviewed Exeter's records with respect to the account of Young and am

familiar with their contents.

          7.    On or about February 2, 2018, Young entered into a Retail Installment Sale

Contract (“February Contract”) with Newton Nissan South, Inc. in Shelbyville, Tennessee for the

purchase of a 2014 GMC Sierra (the “Vehicle”). A true and correct copy of the February

Contract is attached hereto as Exhibit 1.

          8.    The February Contract contained an assignment provision whereby Newton

Nissan South, Inc. immediately assigned its interest in the February Contract to Exeter. See Ex.

1.

          9.    The February Contract contains an arbitration clause, under which Young agreed

to resolve any covered claims through arbitration. See Ex. 1.

          10.   On or about June 4, 2018, Young entered into a Retail Installment Sale Contract

(“June Contract”) with Newton Nissan South, Inc. in Shelbyville, Tennessee. A true and correct

copy of the June Contract is attached hereto as Exhibit 2.

          11.   The June Contract contained an assignment provision whereby Newton Nissan

South, Inc. immediately assigned its interest in the June Contract to Exeter. See Ex. 2.

          12.   The June Contract contains an arbitration clause, under which Young agreed to

resolve any covered claims through arbitration. See Ex. 2.




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                    EXHIBIT 1




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                    EXHIBIT 2




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